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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA moe
-~ve-
ANDREI TYURIN, 19 Cr. 658 (AJN)
Defendant.
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WHEREAS the above-captioned case has been transferred from
the United States District Court for the Northern District of
Georgia to this Court pursuant to Federal Rule of Criminal
Procedure 20 in anticipation of its disposition; and

WHEREAS the above-captioned case is related to United States
v. Gery Shalon et al., 15 Cr. 333 (LTS), which is presently pending
before the Honorable Laura Taylor Swain; and

WHEREAS the United States of America, by and through Assistant
United States Attorney Eun Young Choi, has requested that the
above-captioned case be reassigned to the Honorable Laura Taylor
Swain for purposes of its efficient disposition, with the consent
of Judge Swain and the defendant, by and through his counsel; it

is hereby

 
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ORDERED that this case should be transferred to the Honorable

Laura Taylor Swain.

Dated: New York, New York
September 6, 2019

  

 

THE WONORABLE ALISON J. NATHAN
UNITED STATES DISTRICT JUDGE
